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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                         TYLER DIVISION


 GAYLAND DECLOYCE WILLIAMS,                       §
 #875982

 VS.                                              §            CIVIL ACTION NO. 6:18cv153

 DIRECTOR, TDCJ-CID                               §

                                     ORDER OF DISMISSAL

        The above-styled and numbered civil action was heretofore referred to United States

 Magistrate Judge K. Nicole Mitchell. The Report and Recommendation of the Magistrate Judge,

 which contains proposed findings of fact and recommendations for the disposition of such action,

 has been presented for consideration, and no objections having been timely filed, the court is of

 the opinion that the findings and conclusions of the Magistrate Judge are correct, and adopts the

 same as the findings and conclusions of the court. It is therefore

        ORDERED that the petition for a writ of habeas corpus is DISMISSED without prejudice

 for want of prosecution and failure to obey an order. Fed. R. Civ. P. 41(b); Rule 41, Local Rules

 for the Eastern District of Texas. All motions not previously ruled on are DENIED.


        SIGNED this the 9 day of November, 2020.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge
